          Case 16-00188-LT13                    Filed 01/18/16                Entered 01/18/16 16:45:25                  Doc 1         Pg. 1 of 75



Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                           Chapter you are filing under:
                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12

                                                                                   Chapter 13                                        Check if this an
                                                                                                                                     amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Leonard
     your government-issued        First name                                                         First name
     picture identification (for
     example, your driver's        G.
     license or passport).         Middle name                                                        Middle name
     Bring your picture
                                   Anderson
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                           Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years Leonard Gary Anderson
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1244
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
           Case 16-00188-LT13                 Filed 01/18/16             Entered 01/18/16 16:45:25                Doc 1         Pg. 2 of 75


Debtor 1   Leonard G. Anderson                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have        I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 13646 Fairgate Dr.
                                 Poway, CA 92064
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 San Diego
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.

                                 PO Box 503396
                                 San Diego, CA 92150
                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                        petition, I have lived in this district longer than            have lived in this district longer than in any other
                                        in any other district.                                         district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
           Case 16-00188-LT13                 Filed 01/18/16             Entered 01/18/16 16:45:25                    Doc 1        Pg. 3 of 75


Debtor 1    Leonard G. Anderson                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                               Chapter 7
                                   Chapter 11
                                   Chapter 12

                                    Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for            No.
     bankruptcy within the
     last 8 years?                 Yes.
                                              District                                 When                             Case number
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy             No
    cases pending or being
    filed by a spouse who is       Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your               No.         Go to line 12.
    residence?
                                   Yes.        Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
           Case 16-00188-LT13                 Filed 01/18/16             Entered 01/18/16 16:45:25                     Doc 1        Pg. 4 of 75


Debtor 1    Leonard G. Anderson                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.       Go to Part 4.
    business?
                                     Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                     No.       I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                     No.
     U.S.C. § 101(51D).                        Code.

                                     Yes.      I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any           No.
    property that poses or is
    alleged to pose a threat         Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
           Case 16-00188-LT13                   Filed 01/18/16             Entered 01/18/16 16:45:25               Doc 1        Pg. 5 of 75


Debtor 1    Leonard G. Anderson                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to         a certificate of completion.                                  certificate of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.      I have a mental illness or a                Incapacity.     I have a mental illness or a mental
                                                                mental deficiency that makes                                deficiency that makes me incapable
                                                                me incapable of realizing or                                of realizing or making rational
                                                                making rational decisions                                   decisions about finances.
                                                                about finances.

                                               Disability.      My physical disability causes               Disability.     My physical disability causes me to
                                                                me to be unable to participate                              be unable to participate in a briefing
                                                                in a briefing in person, by                                 in person, by phone, or through the
                                                                phone, or through the                                       internet, even after I reasonably tried
                                                                internet, even after I                                      to do so.
                                                                reasonably tried to do so.

                                               Active duty.     I am currently on active                    Active duty.    I am currently on active military duty
                                                                military duty in a military                                 in a military combat zone.
                                                                combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver of credit counseling with the               of credit counseling with the court.
                                         court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
           Case 16-00188-LT13                Filed 01/18/16            Entered 01/18/16 16:45:25                      Doc 1        Pg. 6 of 75


Debtor 1    Leonard G. Anderson                                                                          Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                             No. Go to line 16b.

                                              Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                             No. Go to line 16c.
                                             Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under           No.     I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that          Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                 No
     are paid that funds will
     be available for                        Yes
     distribution to unsecured
     creditors?

18. How many Creditors do          1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                          5001-10,000                                 50,001-100,000
    owe?                           50-99
                                   100-199                                         10,001-25,000                               More than100,000
                                   200-999

19. How much do you                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to                                                        $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?                      $50,001 - $100,000
                                   $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities      $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?
                                   $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                   $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Leonard G. Anderson
                                 Leonard G. Anderson                                              Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on      January 12, 2016                                Executed on
                                                  MM / DD / YYYY                                                  MM / DD / YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 6
           Case 16-00188-LT13                   Filed 01/18/16           Entered 01/18/16 16:45:25                    Doc 1        Pg. 7 of 75


Debtor 1   Leonard G. Anderson                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Ahren A. Tiller                                                Date         January 12, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Ahren A. Tiller
                                Printed name

                                Bankruptcy Law Center
                                Firm name

                                1230 Columbia St., Suite 1100
                                San Diego, CA 92101
                                Number, Street, City, State & ZIP Code

                                Contact phone     619-894-8831                               Email address

                                250608
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
        Case 16-00188-LT13                            Filed 01/18/16                   Entered 01/18/16 16:45:25                               Doc 1             Pg. 8 of 75


 Fill in this information to identify your case:

 Debtor 1                  Leonard G. Anderson
                           First Name                          Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)       First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                 SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                  Your assets
                                                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $              19,508.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $              19,508.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                  Your liabilities
                                                                                                                                                                  Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $              19,044.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $              15,880.29

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $             136,003.00


                                                                                                                                  Your total liabilities $                   170,927.29


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $              10,443.65

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $                7,283.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                   Summary of Your Assets and Liabilities and Certain Statistical Information                                                      page 1 of 2
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       Case 16-00188-LT13                          Filed 01/18/16        Entered 01/18/16 16:45:25                     Doc 1    Pg. 9 of 75


 Debtor 1      Leonard G. Anderson                                                        Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                     15,194.62


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $             15,880.29

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            110,001.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $           125,881.29




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
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        Case 16-00188-LT13                       Filed 01/18/16                    Entered 01/18/16 16:45:25             Doc 1         Pg. 10 of 75


 Fill in this information to identify your case and this filing:

 Debtor 1                 Leonard G. Anderson
                          First Name                        Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)      First Name                        Middle Name                       Last Name


 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF CALIFORNIA

 Case number                                                                                                                                       Check if this is an
                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

      No. Go to Part 2.
      Yes. Where is the property?

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      No
        Yes


                       Ford                                                                                         Do not deduct secured claims or exemptions. Put
  3.1      Make:                                               Who has an interest in the property? Check one
                                                                                                                    the amount of any secured claims on Schedule D:
           Model:      Focus                                     Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
           Year:       2014                                      Debtor 2 only                                      Current value of the       Current value of the
           Approximate mileage:                14000             Debtor 1 and Debtor 2 only                         entire property?           portion you own?
           Other information:                                    At least one of the debtors and another


                                                                 Check if this is community property                         $9,799.00                    $9,799.00
                                                                     (see instructions)



                       Nissan                                                                                       Do not deduct secured claims or exemptions. Put
  3.2      Make:                                               Who has an interest in the property? Check one
                                                                                                                    the amount of any secured claims on Schedule D:
           Model:      Maxima                                    Debtor 1 only                                      Creditors Who Have Claims Secured by Property.
           Year:       1998                                      Debtor 2 only                                      Current value of the       Current value of the
           Approximate mileage:               149000             Debtor 1 and Debtor 2 only                         entire property?           portion you own?
           Other information:                                    At least one of the debtors and another


                                                                 Check if this is community property                            $609.00                     $609.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
      Yes




Official Form 106A/B                                                         Schedule A/B: Property                                                              page 1
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      Case 16-00188-LT13                         Filed 01/18/16              Entered 01/18/16 16:45:25                           Doc 1          Pg. 11 of 75


 Debtor 1       Leonard G. Anderson                                                                               Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>            $10,408.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
       Yes. Describe.....

                                    Household Good and Furnishings.
                                    No single item worth over $650.00                                                                                          $2,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
       Yes. Describe.....

                                    3 desktop computers with monitor: $1000
                                    47" tv: $500                                                                                                               $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     No
       Yes. Describe.....

                                    Miscellaneous clothing.
                                    No single item worth over $650.00                                                                                            $600.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....




Official Form 106A/B                                                  Schedule A/B: Property                                                                         page 2
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      Case 16-00188-LT13                                    Filed 01/18/16                        Entered 01/18/16 16:45:25              Doc 1        Pg. 12 of 75


 Debtor 1         Leonard G. Anderson                                                                                        Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                           $4,600.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
       Yes................................................................................................................

                                                                                                                                Cash on Hand                             $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                   institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                             17.1.       Checking                              Wells Fargo                                                             $600.00



                                             17.2.       Checking                              NGFCU Checking Account                                                  $500.00



                                             17.3.       Savings                               NGFCU Savings Account                                                   $250.00



                                             17.4.       Debit card                            Go with Purpose Debit Card Account                                      $750.00



                                             17.5.       Debit card                            Go with Purpose Debit Card Account                                      $200.00



                                             17.6.       Checking                              Chase                                                                   $150.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                            Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
      No
      Yes. Give specific information about them...................
                                  Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No

Official Form 106A/B                                                                    Schedule A/B: Property                                                             page 3
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      Case 16-00188-LT13                         Filed 01/18/16           Entered 01/18/16 16:45:25                  Doc 1           Pg. 13 of 75


 Debtor 1       Leonard G. Anderson                                                                     Case number (if known)

      Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                               Type of account:                          Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                               Institution name or individual:

                                      Rental deposit                     Security deposit with landlord                                             $2,000.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............    Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..




Official Form 106A/B                                                 Schedule A/B: Property                                                               page 4
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      Case 16-00188-LT13                              Filed 01/18/16                   Entered 01/18/16 16:45:25                                 Doc 1         Pg. 14 of 75


 Debtor 1         Leonard G. Anderson                                                                                            Case number (if known)

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                       Beneficiary:                                 Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........

35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $4,500.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
     Yes. Go to line 38.



 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                      $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 5
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      Case 16-00188-LT13                               Filed 01/18/16                    Entered 01/18/16 16:45:25                                   Doc 1      Pg. 15 of 75


 Debtor 1         Leonard G. Anderson                                                                                               Case number (if known)

 Part 8:        List the Totals of Each Part of this Form


 55. Part 1: Total real estate, line 2 ......................................................................................................................                     $0.00
 56. Part 2: Total vehicles, line 5                                                                        $10,408.00
 57. Part 3: Total personal and household items, line 15                                                    $4,600.00
 58. Part 4: Total financial assets, line 36                                                                $4,500.00
 59. Part 5: Total business-related property, line 45                                                           $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                  $0.00
 61. Part 7: Total other property not listed, line 54                                          +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                   $19,508.00             Copy personal property total             $19,508.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $19,508.00




Official Form 106A/B                                                             Schedule A/B: Property                                                                            page 6
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       Case 16-00188-LT13                        Filed 01/18/16               Entered 01/18/16 16:45:25                        Doc 1     Pg. 16 of 75


 Fill in this information to identify your case:

 Debtor 1                Leonard G. Anderson
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                   Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

         You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1998 Nissan Maxima 149000 miles                                     $609.00                                  $609.00        C.C.P. § 703.140(b)(2)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Good and Furnishings.                                 $2,500.00                                  $2,500.00        C.C.P. § 703.140(b)(3)
      No single item worth over $650.00
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      3 desktop computers with monitor:                               $1,500.00                                  $1,500.00        C.C.P. § 703.140(b)(3)
      $1000
      47" tv: $500                                                                         100% of fair market value, up to
      Line from Schedule A/B: 7.1                                                          any applicable statutory limit

      Miscellaneous clothing.                                             $600.00                                  $600.00        C.C.P. § 703.140(b)(3)
      No single item worth over $650.00
      Line from Schedule A/B: 11.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit

      Cash on Hand                                                         $50.00                                    $50.00       C.C.P. § 703.140(b)(5)
      Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 1 of 2
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      Case 16-00188-LT13                         Filed 01/18/16               Entered 01/18/16 16:45:25                        Doc 1     Pg. 17 of 75


 Debtor 1    Leonard G. Anderson                                                                         Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: Wells Fargo                                               $600.00                                   $600.00        C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: NGFCU Checking Account                                    $500.00                                   $500.00        C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: NGFCU Savings Account                                      $250.00                                   $250.00        C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debit card: Go with Purpose Debit                                   $750.00                                   $750.00        C.C.P. § 703.140(b)(5)
     Card Account
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debit card: Go with Purpose Debit                                   $200.00                                   $200.00        C.C.P. § 703.140(b)(5)
     Card Account
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Chase                                                     $150.00                                   $150.00        C.C.P. § 703.140(b)(5)
     Line from Schedule A/B: 17.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Rental deposit: Security deposit with                            $2,000.00                                  $2,000.00        C.C.P. § 703.140(b)(5)
     landlord
     Line from Schedule A/B: 22.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
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       Case 16-00188-LT13                         Filed 01/18/16                Entered 01/18/16 16:45:25                             Doc 1       Pg. 18 of 75


 Fill in this information to identify your case:

 Debtor 1                   Leonard G. Anderson
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
         No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                               Column A                Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim         Value of collateral     Unsecured
 as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the       that supports this      portion
                                                                                                               value of collateral.    claim                   If any
 2.1     FMC-Omaha Service Ctr                    Describe the property that secures the claim:                    $19,044.00                  $9,799.00           $9,245.00
         Creditor's Name                          2014 Ford Focus 14000 miles

                                                  As of the date you file, the claim is: Check all that
         Po Box 542000                            apply.
         Omaha, NE 68154                             Contingent
         Number, Street, City, State & Zip Code      Unliquidated
                                                     Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
   Debtor 1 only                                     An agreement you made (such as mortgage or secured
   Debtor 2 only                                       car loan)
    Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit

    Check if this claim relates to a                 Other (including a right to offset)     Auto Loan
     community debt

 Date debt was incurred          6/2014                    Last 4 digits of account number         5038


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $19,044.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $19,044.00

 Part 2: List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

          Name Address
          -NONE-                                                                           On which line in Part 1 did you enter the creditor?

                                                                                           Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          page 1 of 1
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       Case 16-00188-LT13                          Filed 01/18/16                   Entered 01/18/16 16:45:25                           Doc 1        Pg. 19 of 75


 Fill in this information to identify your case:

 Debtor 1                   Leonard G. Anderson
                            First Name                       Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                       Last Name


 United States Bankruptcy Court for the:               SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.

          Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority            Nonpriority
                                                                                                                                              amount              amount
 2.1          Franchise Tax Board                                    Last 4 digits of account number                                  $0.00              $0.00                  $0.00
              Priority Creditor's Name
              PO Box 942867                                          When was the debt incurred?
              Sacramento, CA 94267
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                              Contingent
           Debtor 1 only                                               Unliquidated
           Debtor 2 only                                               Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                     Domestic support obligations

           Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated

           No                                                          Other. Specify
           Yes                                                                           Notice Only

 2.2          Internal Revenue Service                               Last 4 digits of account number       1244             $15,880.29              $2,961.46          $12,918.83
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?           2010, 2014
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                              Contingent
           Debtor 1 only                                               Unliquidated
           Debtor 2 only                                               Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                     Domestic support obligations

           Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                Claims for death or personal injury while you were intoxicated

           No                                                          Other. Specify
           Yes                                                                           Taxes


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                               Page 1 of 16
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       Case 16-00188-LT13                         Filed 01/18/16               Entered 01/18/16 16:45:25                            Doc 1          Pg. 20 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
       claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
       creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                           Total claim

 4.1        Advanced Homecare                                        Last 4 digits of account number                                                                         $0.00
            Nonpriority Creditor's Name
            27349 Jefferson Ave., Ste. 100                           When was the debt incurred?
            Temecula, CA 92590
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only                           Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another                Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify     Notice Only


 4.2        AFSA/College Loan Corp                                   Last 4 digits of account number        7089                                                     $20,509.00
            Nonpriority Creditor's Name
            501 Bleeker Street                                       When was the debt incurred?            9/2006
            Utica, NY 13501-2401
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another
                                                                       Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify
                                                                                          Student Loan
 4.3        Allan Johnson                                            Last 4 digits of account number                                                                   $2,500.00
            Nonpriority Creditor's Name
            45-180 Mahalani Pl. #10                                  When was the debt incurred?            2010
            Kaneohe, HI 96744
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                                                                       Contingent
                Debtor 1 only
                                                                       Unliquidated
                Debtor 2 only
                                                                       Disputed
                Debtor 1 and Debtor 2 only                           Type of NONPRIORITY unsecured claim:
                At least one of the debtors and another                Student loans
                Check if this claim is for a community debt            Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

                No                                                     Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                    Other. Specify     Lease deficiency




Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 2 of 16
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       Case 16-00188-LT13                        Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 21 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.4      AT&T Mobility                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          P.O. Box 60017                                             When was the debt incurred?
          Los Angeles, CA 90060
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                   Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Notice Only


 4.5      CACH LLC                                                   Last 4 digits of account number       0xxx                                                 $428.00
          Nonpriority Creditor's Name
          4340 S Monaco St, Fl 2                                     When was the debt incurred?           9/2015
          Denver, CO 80237
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Capital One


 4.6      Capital One                                                Last 4 digits of account number       3656                                                 $503.00
          Nonpriority Creditor's Name
          PO Box 30281                                               When was the debt incurred?           3/2006-10/2013
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Credit Card Purchases - Charged Off




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 3 of 16
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       Case 16-00188-LT13                        Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 22 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.7      Dept of Ed / Nelnet                                        Last 4 digits of account number       0443                                              $3,458.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           6/2012
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.8      Dept of Ed / Nelnet                                        Last 4 digits of account number       3603                                              $6,772.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           4/2011
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.9      Dept of Ed / Nelnet                                        Last 4 digits of account number       9788                                              $9,366.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           10/2003
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 23 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.10     Dept of Ed / Nelnet                                        Last 4 digits of account number       0443                                              $2,257.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           6/2012
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.11     Dept of Ed / Nelnet                                        Last 4 digits of account number       9788                                              $4,764.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           8/2002
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.12     Dept of Ed / Nelnet                                        Last 4 digits of account number       9788                                              $4,826.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           10/2003
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 24 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.13     Dept of Ed / Nelnet                                        Last 4 digits of account number       7940                                            $10,672.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           10/2011
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Student Loan


 4.14     Dept of Ed / Nelnet                                        Last 4 digits of account number       9788                                              $3,506.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           8/2002
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.15     Dept of Ed / Nelnet                                        Last 4 digits of account number       7624                                              $7,289.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           6/2010
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 6 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 25 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.16     Dept of Ed / Nelnet                                        Last 4 digits of account number       7940                                              $6,772.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           10/2011
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.17     Dept of Ed / Nelnet                                        Last 4 digits of account number       7624                                              $4,809.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           6/2010
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.18     Dept of Ed / Nelnet                                        Last 4 digits of account number       4797                                                 $770.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           6/2011
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 26 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.19     Dept of Ed / Nelnet                                        Last 4 digits of account number       4503                                              $3,683.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           6/2011
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Student Loan


 4.20     Dept of Ed / Nelnet                                        Last 4 digits of account number       3698                                            $23,045.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           10/2012
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.21     Dept of Ed / Nelnet                                        Last 4 digits of account number       4503                                              $2,257.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           6/2011
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 8 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 27 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.22     Dept of Ed / Nelnet                                        Last 4 digits of account number       3603                                            $10,371.00
          Nonpriority Creditor's Name
          121 S 13th St.                                             When was the debt incurred?           4/2011
          Lincoln, NE 68508
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify
                                                                                         Student Loan
 4.23     Dept of Ed/Nelnet                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          3015 Parker Rd. Ste. 400                                   When was the debt incurred?
          Aurora, CO 80014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Additional Notice Only


 4.24     ECMC                                                       Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Attn: Wage Withholding Admin.                              When was the debt incurred?
          1 Imation Pl
          Oakdale, MN 55128-3421
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 9 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 28 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.25     Pomerado Hospital                                          Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          15615 Pomerado Road                                        When was the debt incurred?
          Poway, CA 92064
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                   Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Notice Only


 4.26     Progressive Management Service                             Last 4 digits of account number       2329                                                 $122.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           5/2013
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps


 4.27     Progressive Management Service                             Last 4 digits of account number       9159                                                 $559.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           2/2015
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 10 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 29 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.28     Progressive Management Service                             Last 4 digits of account number       2418                                                  $95.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           10/2012
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps


 4.29     Progressive Management Service                             Last 4 digits of account number       5871                                                 $239.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           11/2013
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps


 4.30     Progressive Management Service                             Last 4 digits of account number       7910                                                  $66.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           10/2014
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 11 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 30 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.31     Progressive Management Service                             Last 4 digits of account number       6537                                                 $514.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           12/2008
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps


 4.32     Progressive Management Service                             Last 4 digits of account number       9953                                              $1,640.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           6/2010
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps


 4.33     Progressive Management Service                             Last 4 digits of account number       0203                                                  $68.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           8/2012
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 12 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 31 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.34     Progressive Management Service                             Last 4 digits of account number       5713                                                  $71.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           11/2010
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps


 4.35     Progressive Management Service                             Last 4 digits of account number       4988                                                 $129.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           1/2014
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps


 4.36     Progressive Management Service                             Last 4 digits of account number       8259                                                 $216.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           6/2012
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Scripps




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 32 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.37     Progressive Management Service                             Last 4 digits of account number       6741                                              $1,038.00
          Nonpriority Creditor's Name
          1521 W. Cameron Ave. Fl 1                                  When was the debt incurred?           4/2012
          West Covina, CA 91790
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Pomerado


 4.38     Rash Curtis & Associates                                   Last 4 digits of account number       6xxx                                              $1,096.00
          Nonpriority Creditor's Name
          190 S. Orchard Ave., Ste. A205                             When was the debt incurred?           8/2014
          Vacaville, CA 95688
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection - Advanced Home Care


 4.39     Receivables Performance                                    Last 4 digits of account number       4764                                                 $904.00
          Nonpriority Creditor's Name
          20816 44th Ave. W                                          When was the debt incurred?           7/2015
          Lynnwood, WA 98036
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - ATT




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 14 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                Entered 01/18/16 16:45:25                           Doc 1         Pg. 33 of 75


 Debtor 1 Leonard G. Anderson                                                                             Case number (if know)

 4.40      Scripps Billing Correspondence                            Last 4 digits of account number                                                                    $0.00
           Nonpriority Creditor's Name
           10666 North Torrey Pines Rd.                              When was the debt incurred?
           La Jolla, CA 92037
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only                              Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                   Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Notice Only


 4.41      Systematic National Collection                            Last 4 digits of account number       8xxx                                                     $689.00
           Nonpriority Creditor's Name
           P.O. Box 6070                                             When was the debt incurred?           8/2009
           Folsom, CA 95763
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                       Other. Specify    Collection Account - Torrey Pines oral


 4.42      WEBBANK/DFS                                               Last 4 digits of account number       5463                                                         $0.00
           Nonpriority Creditor's Name
           PO Box 81607                                              When was the debt incurred?           3/2007-2/2010
           Austin, TX 78708-1607
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                       Contingent
             Debtor 1 only
                                                                       Unliquidated
             Debtor 2 only
                                                                       Disputed
             Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                       Student loans
             Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         consumer credit
             Yes                                                       Other. Specify    Past statue of limitation to collect

 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 -NONE-                                                        Line of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
                                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Part 4:     Add the Amounts for Each Type of Unsecured Claim

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 15 of 16
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      Case 16-00188-LT13                          Filed 01/18/16              Entered 01/18/16 16:45:25                         Doc 1    Pg. 34 of 75


 Debtor 1 Leonard G. Anderson                                                                           Case number (if know)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                      Total claim
                        6a.   Domestic support obligations                                               6a.      $                       0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                  15,880.29
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                       0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                       0.00

                        6e.   Total. Add lines 6a through 6d.                                            6e.      $                  15,880.29

                                                                                                                 Total Claim
                        6f.   Student loans                                                              6f.      $                 110,001.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                          6g.      $                       0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                       0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.      $                  26,002.00

                        6j.   Total. Add lines 6f through 6i.                                            6j.      $                 136,003.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 16 of 16
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        Case 16-00188-LT13                       Filed 01/18/16                 Entered 01/18/16 16:45:25            Doc 1        Pg. 35 of 75


 Fill in this information to identify your case:

 Debtor 1                Leonard G. Anderson
                         First Name                         Middle Name               Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name               Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.2
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.3
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.4
           Name


           Number      Street

           City                                   State                   ZIP Code
  2.5
           Name


           Number      Street

           City                                   State                   ZIP Code




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                               Page 1 of 1
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       Case 16-00188-LT13                               Filed 01/18/16              Entered 01/18/16 16:45:25           Doc 1       Pg. 36 of 75


 Fill in this information to identify your case:

 Debtor 1                     Leonard G. Anderson
                              First Name                          Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)          First Name                          Middle Name              Last Name


 United States Bankruptcy Court for the:                    SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                              Check if this is an
                                                                                                                                         amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

         No
          Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

         No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                   No
                       Yes.


                          In which community state or territory did you live?              -NONE-         . Fill in the name and current address of that person.


                          Name of your spouse, former spouse, or legal equivalent
                          Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.

                Column 1: Your codebtor                                                                    Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                             Check all schedules that apply:


    3.1         Kelley J. Sheley-Anderson                                                                  Schedule D, line
                13646 Fairgate Dr.                                                                          Schedule E/F, line 4.26
                Poway, CA 92064
                                                                                                           Schedule G
                                                                                                          Progressive Management Service



    3.2         Kelley J. Sheley-Anderson                                                                  Schedule D, line
                13646 Fairgate Dr.                                                                         Schedule E/F, line  4.39
                Poway, CA 92064
                                                                                                           Schedule G
                                                                                                          Receivables Performance




Official Form 106H                                                                     Schedule H: Your Codebtors                                     Page 1 of 1
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      Case 16-00188-LT13                    Filed 01/18/16        Entered 01/18/16 16:45:25                    Doc 1           Pg. 37 of 75




Fill in this information to identify your case:

Debtor 1                      Leonard G. Anderson

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF CALIFORNIA

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                  Not employed                               Not employed
       employers.
                                             Occupation            Engineer                                   Caregiver
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Northrop Grumman Corp.                     IHSS

       Occupation may include student        Employer's address    8710 Freeport Parkway Ste.
       or homemaker, if it applies.                                100                                        780 Bay Boulevard, Suite 200
                                                                   Irving, TX 75063                           Chula Vista, CA 91910

                                             How long employed there?         10 years                                  since 8/2014

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1        For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $       12,385.83       $         1,759.29

3.     Estimate and list monthly overtime pay.                                             3.     +$             0.00      +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $    12,385.83              $   1,759.29




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
     Case 16-00188-LT13                 Filed 01/18/16           Entered 01/18/16 16:45:25                       Doc 1         Pg. 38 of 75



Debtor 1    Leonard G. Anderson                                                                   Case number (if known)



                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $       12,385.83       $         1,759.29

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $         2,828.12   $                15.27
      5b.   Mandatory contributions for retirement plans                                   5b.     $             0.00   $                 0.00
      5c.   Voluntary contributions for retirement plans                                   5c.     $             0.00   $                 0.00
      5d.   Required repayments of retirement fund loans                                   5d.     $             0.00   $                 0.00
      5e.   Insurance                                                                      5e.     $             0.00   $                 0.00
      5f.   Domestic support obligations                                                   5f.     $             0.00   $                 0.00
      5g.   Union dues                                                                     5g.     $             0.00   $                40.70
      5h.   Other deductions. Specify: health insurance                                    5h.+    $           260.82 + $                 0.00
            hsa                                                                                    $           554.66   $                 0.00
            ad&d                                                                                   $             9.68   $                 0.00
            child life                                                                             $             0.91   $                 0.00
            spouse life                                                                            $            25.31   $                 0.00
            legal plan                                                                             $            13.75   $                 0.00
            ltd                                                                                    $            39.11   $                 0.00
            life                                                                                   $           133.23   $                 0.00
            Correction for underwithholding                                                        $             0.00   $               240.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,865.59      $            295.97
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          8,520.24      $        1,463.32
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $                 0.00
      8b. Interest and dividends                                                           8b.     $              0.00     $                 0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $                 0.00
      8d. Unemployment compensation                                                        8d.     $              0.00     $                 0.00
      8e. Social Security                                                                  8e.     $              0.00     $                 0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                0.00   $                    0.00
      8g. Pension or retirement income                                                     8g. $               460.09   $                    0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                    0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            460.09      $                  0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           8,980.33 + $        1,463.32 = $             10,443.65
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                      0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.    $          10,443.65
                                                                                                                                        Combined
                                                                                                                                        monthly income




Official Form 106I                                                    Schedule I: Your Income                                                         page 2
     Case 16-00188-LT13          Filed 01/18/16      Entered 01/18/16 16:45:25                     Doc 1     Pg. 39 of 75



Debtor 1   Leonard G. Anderson                                                      Case number (if known)

13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Non-filing spouse's income going forward differs from the B22 because the state is limiting her to
                        40 hour per week.




Official Form 106I                                        Schedule I: Your Income                                           page 3
     Case 16-00188-LT13                     Filed 01/18/16                Entered 01/18/16 16:45:25                      Doc 1         Pg. 40 of 75




Fill in this information to identify your case:

Debtor 1                  Leonard G. Anderson                                                                Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                         A supplement showing postpetition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
         No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      and Debtor 2.                                 each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                             Daughter                             12                 Yes
                                                                                                                                            No
                                                                                    Son                                  16                 Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                             2,000.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.   $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.   $                             30.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.   $                            216.00
      4d. Homeowner’s association or condominium dues                                                       4d.   $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.   $                              0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                             page 1
     Case 16-00188-LT13                    Filed 01/18/16               Entered 01/18/16 16:45:25                           Doc 1        Pg. 41 of 75



Debtor 1     Leonard G. Anderson                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                                      6a.   $                               416.00
      6b. Water, sewer, garbage collection                                                                    6b.   $                               150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                      6c.   $                                35.00
      6d. Other. Specify: Cell phone                                                                          6d.   $                               220.00
             Internet                                                                                               $                               112.00
             Direct TV                                                                                              $                                86.00
             Trash                                                                                                  $                                22.00
7.    Food and housekeeping supplies                                                          7.                    $                             1,500.00
8.    Childcare and children’s education costs                                                8.                    $                               150.00
9.    Clothing, laundry, and dry cleaning                                                     9.                    $                               300.00
10.   Personal care products and services                                                   10.                     $                               160.00
11.   Medical and dental expenses                                                           11.                     $                               300.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    600.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                    225.00
14.   Charitable contributions and religious donations                                      14. $                                                      0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    251.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    Miscellaneous                                                      21. +$                                                   300.00
      Auto registration upkeep and repairs                                                       +$                                                  150.00
      Pet expenses                                                                               +$                                                   60.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                        $                      7,283.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                   $                      7,283.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                              10,443.65
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              7,283.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                               3,160.65

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.              Explain here:




Official Form 106J                                                   Schedule J: Your Expenses                                                                    page 2
       Case 16-00188-LT13                        Filed 01/18/16           Entered 01/18/16 16:45:25                   Doc 1       Pg. 42 of 75




 Fill in this information to identify your case:

 Debtor 1                 Leonard G. Anderson
                          First Name                        Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name             Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Leonard G. Anderson                                                   X
              Leonard G. Anderson                                                       Signature of Debtor 2
              Signature of Debtor 1

              Date     January 12, 2016                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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       Case 16-00188-LT13                        Filed 01/18/16              Entered 01/18/16 16:45:25                        Doc 1        Pg. 43 of 75




 Fill in this information to identify your case:

 Debtor 1                 Leonard G. Anderson
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:             SOUTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
              Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)
 From January 1 of current year until                Wages, commissions,                          $6,331.35          Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                     Operating a business                                            Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1

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      Case 16-00188-LT13                         Filed 01/18/16              Entered 01/18/16 16:45:25                        Doc 1        Pg. 44 of 75


 Debtor 1      Leonard G. Anderson                                                                          Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 For last calendar year:                             Wages, commissions,                       $167,020.26           Wages, commissions,
 (January 1 to December 31, 2015 )                 bonuses, tips                                                   bonuses, tips

                                                     Operating a business                                            Operating a business

 For the calendar year before that:                  Wages, commissions,                       $144,772.00           Wages, commissions,
 (January 1 to December 31, 2014 )                 bonuses, tips                                                   bonuses, tips

                                                     Operating a business                                            Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Describe below..                 (before deductions and         Describe below.               (before deductions
                                                                                    exclusions)                                                  and exclusions)
 From January 1 of current year until Retirement income                                             $460.90
 the date you filed for bankruptcy:

 For last calendar year:                           Retirement income                              $4,872.00
 (January 1 to December 31, 2015 )

 For the calendar year before that:                Retirement income                              $1,683.00
 (January 1 to December 31, 2014 )


 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                   an attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

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      Case 16-00188-LT13                         Filed 01/18/16                Entered 01/18/16 16:45:25                      Doc 1      Pg. 45 of 75


 Debtor 1      Leonard G. Anderson                                                                          Case number (if known)



       Creditor's Name and Address                              Dates of payment               Total amount        Amount you        Was this payment for ...
                                                                                                       paid          still owe
       FMC-Omaha Service Ctr                                    Payments made                    $1,539.00          $19,044.00        Mortgage
       Po Box 542000                                            90 days prior to                                                      Car
       Omaha, NE 68154                                          filing.                                                               Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment               Total amount        Amount you        Reason for this payment
                                                                                                       paid          still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment               Total amount        Amount you        Reason for this payment
                                                                                                       paid          still owe       Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case           Court or agency                         Status of the case
       Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened
       Internal Revenue Service                                 $6750 garnished from paycheck                                 1/2015-12/201                $6,750.00
       PO Box 7346                                                                                                            5
       Philadelphia, PA 19101-7346                                   Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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      Case 16-00188-LT13                         Filed 01/18/16              Entered 01/18/16 16:45:25                        Doc 1      Pg. 46 of 75


 Debtor 1      Leonard G. Anderson                                                                          Case number (if known)



11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
        No
        Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
        No
        Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List                  loss                           lost
                                                            pending insurance claims on line 33 of Schedule A/B:
                                                            Property.

 Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Bankruptcy Law Center                                         Attorney Fees                                            11/17/2015               $1,800.00
       1230 Columbia St., Suite 1100
       San Diego, CA 92101
       bankruptcyattorneys.org




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4

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      Case 16-00188-LT13                         Filed 01/18/16               Entered 01/18/16 16:45:25                       Doc 1      Pg. 47 of 75


 Debtor 1      Leonard G. Anderson                                                                          Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5

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      Case 16-00188-LT13                         Filed 01/18/16                  Entered 01/18/16 16:45:25                      Doc 1    Pg. 48 of 75


 Debtor 1      Leonard G. Anderson                                                                              Case number (if known)



 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                       Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you    Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case              Status of the
       Case Number                                                   Name                                                                       case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)

              A partner in a partnership
              An officer, director, or managing executive of a corporation

              An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 6

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      Case 16-00188-LT13                             Filed 01/18/16           Entered 01/18/16 16:45:25                        Doc 1   Pg. 49 of 75


 Debtor 1      Leonard G. Anderson                                                                           Case number (if known)



             No. None of the above applies. Go to Part 12.
             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                           Describe the nature of the business               Employer Identification number
        Address                                                                                                   Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                  Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)


 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Leonard G. Anderson
 Leonard G. Anderson                                                     Signature of Debtor 2
 Signature of Debtor 1

 Date      January 12, 2016                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
  No
  Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
  No
  Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7

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       Case 16-00188-LT13                        Filed 01/18/16               Entered 01/18/16 16:45:25                       Doc 1          Pg. 50 of 75




 Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:

 Debtor 1              Leonard G. Anderson                                                                         According to the calculations required by this
                                                                                                                   Statement:
 Debtor 2                                                                                                                1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                            11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            Southern District of California                                      2. Disposable income is determined under 11
                                                                                                                            U.S.C. § 1325(b)(3).
 Case number
 (if known)
                                                                                                                         3. The commitment period is 3 years.

                                                                                                                         4. The commitment period is 5 years.

                                                                                                                      Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:          Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
           Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
    the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A                   Column B
                                                                                                          Debtor 1                   Debtor 2 or
                                                                                                                                     non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                             $       12,385.83          $         2,348.70
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                               $               0.00       $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                 0.00       $              0.00
  5. Net income from operating a business,
     profession, or farm                                      Debtor 1
     Gross receipts (before all deductions)                     $      0.00
        Ordinary and necessary operating expenses                        -$      0.00
        Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                      0.00       $              0.00
  6. Net income from rental and other real property                   Debtor 1
     Gross receipts (before all deductions)                             $      0.00
        Ordinary and necessary operating expenses                        -$      0.00
        Net monthly income from rental or other real property             $      0.00 Copy here -> $                      0.00       $              0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                             page 1
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      Case 16-00188-LT13                         Filed 01/18/16            Entered 01/18/16 16:45:25                            Doc 1          Pg. 51 of 75


 Debtor 1     Leonard G. Anderson                                                                            Case number (if known)



                                                                                                         Column A                      Column B
                                                                                                         Debtor 1                      Debtor 2 or
                                                                                                                                       non-filing spouse
                                                                                                         $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                           $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                          $                      0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                              $              460.09         $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                                                                                                         $                  0.00       $           0.00
                                                                                                         $                  0.00       $           0.00
                  Total amounts from separate pages, if any.                                           + $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                   $      12,845.92           +$         2,348.70    =$       15,194.62

                                                                                                                                                        Total average
                                                                                                                                                        monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                         $       15,194.62
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                   $
                                                                                                   $
                                                                                                +$

                     Total                                                                      $                   0.00         Copy here=>        -                0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                  $       15,194.62

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                   $       15,194.62

                Multiply line 15a by 12 (the number of months in a year).                                                                               x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................         $     182,335.44




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                           page 2
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      Case 16-00188-LT13                         Filed 01/18/16      Entered 01/18/16 16:45:25                      Doc 1     Pg. 52 of 75


 Debtor 1     Leonard G. Anderson                                                                Case number (if known)




  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                        CA

       16b. Fill in the number of people in your household.              4
       16c. Fill in the median family income for your state and size of household.                                                       $     81,740.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form,
                      copy your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                      $                15,194.62
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                       0.00


       19b. Subtract line 19a from line 18.                                                                                          $         15,194.62


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $     15,194.62

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $    182,335.44




       20c. Copy the median family income for your state and size of household from line 16c                                             $     81,740.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Leonard G. Anderson
        Leonard G. Anderson
        Signature of Debtor 1
       Date January 12, 2016
            MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 3
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      Case 16-00188-LT13                         Filed 01/18/16             Entered 01/18/16 16:45:25              Doc 1      Pg. 53 of 75




 Fill in this information to identify your case:

 Debtor 1            Leonard G. Anderson

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Southern District of California

 Case number
 (if known)                                                                                                   Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                      12/15

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    4
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $          1,513.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22C-2                                        Chapter 13 Calculation of Your Disposable Income                                        page 1
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      Case 16-00188-LT13                         Filed 01/18/16          Entered 01/18/16 16:45:25                      Doc 1          Pg. 54 of 75


 Debtor 1     Leonard G. Anderson                                                                   Case number (if known)



    People who are under 65 years of age
            7a. Out-of-pocket health care allowance per person            $             60
            7b. Number of people who are under 65                         X         4
            7c. Subtotal. Multiply line 7a by line 7b.                    $       240.00             Copy here=>        $          240.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person            $          144
            7e. Number of people who are 65 or older                      X         0
            7f.   Subtotal. Multiply line 7d by line 7e.                  $         0.00             Copy here=>        $            0.00

            7g. Total. Add line 7c and line 7f                                               $      240.00                   Copy total here=> $       240.00


    Local Standards         You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5,
        fill in the dollar amount listed for your county for insurance and operating expenses.                         $               626.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                   $        2,533.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file
                  for bankruptcy. Next divide by 60.

                  Name of the creditor                                        Average monthly
                                                                              payment

                  -NONE-                                                      $


                                                                                                     Copy                                      Repeat this amount
                                    9b. Total average monthly payment         $              0.00    here=>        -$                  0.00 on line 33a.

            9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                  or rent expense). If this number is less than $0, enter $0.                           $           2,533.00          here=>    $       2,533.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects
        the calculation of your monthly expenses, fill in any additional amount you claim.                                                     $              0.00

             Explain why:




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                page 2
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      Case 16-00188-LT13                         Filed 01/18/16              Entered 01/18/16 16:45:25                               Doc 1        Pg. 55 of 75


 Debtor 1     Leonard G. Anderson                                                                            Case number (if known)


    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                 $             602.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1:
                                                  2014 Ford Focus 14000 miles
    13a. Ownership or leasing costs using IRS Local Standard..................................................        $             517.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.




                 Name of each creditor for Vehicle 1                              Average monthly
                                                                                  payment
                 FMC-Omaha Service Ctr                                            $             318.28

                                                                                                                                                     Repeat this
                                                                                                                 Copy                                amount on
                                         Total Average Monthly Payment            $             318.28           here =>       -$       318.28       line 33b.


    13c. Net Vehicle 1 ownership or lease expense                                                                                               Copy net
                                                                                                                                                Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                    expense here
                                                                                                                      $             198.72      =>              $         198.72

     Vehicle 2         Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard..................................................        $               0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                              Average monthly
                                                                                  payment

                 -NONE-                                                           $

                                                                                                                 Copy                            Repeat this
                                                                                                                 here                            amount on line
                                         Total Average Monthly Payment            $                0.00                                  0.00    33c.
                                                                                                                 =>       -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                               Copy net
                                                                                                                                                Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                  expense here
                                                                                                                      $               0.00      =>              $             0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                        $                 0.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                               $                 0.00




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                                page 3
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      Case 16-00188-LT13                         Filed 01/18/16           Entered 01/18/16 16:45:25                     Doc 1    Pg. 56 of 75


 Debtor 1     Leonard G. Anderson                                                                    Case number (if known)



    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
        from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
        12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                $       3,083.00
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $           40.70
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                              $         168.22
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $             0.00
    20. Education: The total monthly amount that you pay for education that is either required:
          as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.      $             0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
        preschool.
        Do not include payments for any elementary or secondary school education.                                                       $             0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                      $           60.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
        services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
        business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
        production of income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                    +$            60.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                              $     9,124.64
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.
    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                             $         260.82
            Disability insurance                                         $          39.11
            Health savings account                                     +$          554.66

            Total                                                         $         854.59       Copy total here=>                     $          854.59


            Do you actually spend this total amount?
                   No. How much do you actually spend?
                    Yes                                                      $
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
        of your household or member of your immediate family who is unable to pay for such expenses. These expenses
        may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                        $             0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                      $             0.00



Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                        page 4
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      Case 16-00188-LT13                         Filed 01/18/16                  Entered 01/18/16 16:45:25                        Doc 1       Pg. 57 of 75


 Debtor 1     Leonard G. Anderson                                                                              Case number (if known)


    28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
        allowance on line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on
            line 8, then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.                       $         150.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                              $           53.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                      $             0.00

    32. Add all of the additional expense deductions                                                                                                   $    1,057.59
        Add lines 25 through 31.

    Deductions for Debt Payment
    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                   payment
    33a.      Copy line 9b here                                                                                                               =>   $            0.00
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>   $         318.28
    33c.      Copy line 13e here                                                                                                              =>   $            0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                                                                                        No
             -NONE-                                                                                                                     Yes        $

                                                                                                                                        No
                                                                                                                                        Yes        $

                                                                                                                                        No
                                                                                                                                        Yes   +    $


                                                                                                                                              Copy
                                                                                                                                              total
    33e      Total average monthly payment. Add lines 33a through 33d                                              $              318.28      here=>   $      318.28




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                       page 5
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      Case 16-00188-LT13                                Filed 01/18/16                     Entered 01/18/16 16:45:25                         Doc 1           Pg. 58 of 75


 Debtor 1      Leonard G. Anderson                                                                                      Case number (if known)


    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

               No. Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.
     Name of the creditor                                       Identify property that secures the debt                      Total cure amount                   Monthly cure
                                                                                                                                                                 amount
     -NONE-                                                                                                              $                               ÷ 60 = $

                                                                                                                                                            Copy
                                                                                                                                                            total
                                                                                                                   Total $                        0.00      here=>      $             0.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony -
        that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
               No.      Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                       $             2,961.46         ÷ 60        $           49.36
    36. Projected monthly Chapter 13 plan payment                                                                            $             3,160.00
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X             6.10
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                          Copy total
        Average monthly administrative expense                                                                                   $        192.76          here=> $                192.76


    37. Add all of the deductions for debt payment.                                                                                                                  $         560.40
        Add lines 33e through 36.

    Total Deductions from Income
    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                      $         9,124.64
            Copy line 32, All of the additional expense deductions                                  $         1,057.59
            Copy line 37, All of the deductions for debt payment                                   +$            560.40


            Total deductions....................................................................    $       10,742.63                Copy total here=>              $         10,742.63




Official Form 122C-2                                                Chapter 13 Calculation of Your Disposable Income                                                               page 6
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      Case 16-00188-LT13                         Filed 01/18/16          Entered 01/18/16 16:45:25                         Doc 1         Pg. 59 of 75


 Debtor 1    Leonard G. Anderson                                                                      Case number (if known)



 Part 2:       Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                               $                  15,194.62
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                                $                 0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                    $                 0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here               =>      $          10,742.63
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                   Amount of expense

                                                                                     $

                                                                                     $

                                                                                     $

                                                                                                               Copy
                                                                           Total $               0.00          here=> $                  0.00


                                                                                                                                    Copy
    44. Total adjustments. Add lines 40 through 43.                                              =>        $        10,742.63       here=> -$           10,742.63


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                      $          4,451.99


 Part 3:       Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
        time your case will be open, fill in the information below. For example, if the wages reported increased after
        you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
        wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                     Date of change            Increase or      Amount of change
                                                                                                                    decrease?
      122C-1                                                                                                          Increase
      122C-2                                                                                                          Decrease       $
      122C-1                                                                                                          Increase
      122C-2                                                                                                          Decrease       $
      122C-1                                                                                                          Increase
      122C-2                                                                                                          Decrease       $
      122C-1                                                                                                          Increase
      122C-2                                                                                                          Decrease       $




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                page 7
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      Case 16-00188-LT13                         Filed 01/18/16          Entered 01/18/16 16:45:25                   Doc 1     Pg. 60 of 75


 Debtor 1     Leonard G. Anderson                                                                 Case number (if known)




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Leonard G. Anderson
             Leonard G. Anderson
             Signature of Debtor 1
    Date January 12, 2016
         MM / DD / YYYY




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                        page 8
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      Case 16-00188-LT13                         Filed 01/18/16          Entered 01/18/16 16:45:25                   Doc 1   Pg. 61 of 75


 Debtor 1    Leonard G. Anderson                                                                  Case number (if known)




                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 07/01/2015 to 12/31/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Northruop Grumman
Year-to-Date Income:
Starting Year-to-Date Income: $68,352.00 from check dated                         6/19/2015 .
Ending Year-to-Date Income: $142,667.00 from check dated                          12/31/2015 .
Income for six-month period (Ending-Starting): $74,315.00 .
Average Monthly Income: $12,385.83 .



Line 9 - Pension and retirement income
Source of Income: Boeing pension
Income by Month:
 6 Months Ago:                                   07/2015                    $460.09
 5 Months Ago:                                   08/2015                    $460.09
 4 Months Ago:                                   09/2015                    $460.09
 3 Months Ago:                                   10/2015                    $460.09
 2 Months Ago:                                   11/2015                    $460.09
 Last Month:                                     12/2015                    $460.09
                                 Average per month:                         $460.09




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                 page 9
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      Case 16-00188-LT13                         Filed 01/18/16          Entered 01/18/16 16:45:25                   Doc 1   Pg. 62 of 75


 Debtor 1    Leonard G. Anderson                                                                  Case number (if known)


                                          Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 07/01/2015 to 12/31/2015.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: IHSS
Income by Month:
 6 Months Ago:                                   07/2015                  $2,050.77
 5 Months Ago:                                   08/2015                  $3,221.61
 4 Months Ago:                                   09/2015                  $2,205.09
 3 Months Ago:                                   10/2015                  $2,205.09
 2 Months Ago:                                   11/2015                  $3,386.55
 Last Month:                                     12/2015                  $1,023.09
                                 Average per month:                       $2,348.70




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                 page 10
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      Case 16-00188-LT13                         Filed 01/18/16      Entered 01/18/16 16:45:25   Doc 1   Pg. 63 of 75



Revised 03/01/15
Name, Address, Telephone No. & I.D. No.
 Ahren A. Tiller 250608
 1230 Columbia St., Suite 1100
 San Diego, CA 92101
 619-894-8831
 250608

                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
                   325 West "F" Street, San Diego, California 92101-6991


 In Re
 Leonard G. Anderson                                                               BANKRUPTCY NO.
 Last four digits of Soc. Sec. or              Debtor.
 Individual-Taxpayer I.D. (ITIN)/Complete EIN: xxx-xx-1244




                                         UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF CALIFORNIA
                                 RIGHTS AND RESPONSIBILITIES OF CHAPTER 13 DEBTORS
                                               AND THEIR ATTORNEY
                                                   (Consumer Case)

It is important for debtors who file a bankruptcy case under Chapter 13 to understand their rights and responsibilities. It
is also important that the debtors know what their attorney's responsibilities are, and understand the importance of
communicating with their attorney to make the case successful. Debtors should also know that they may expect certain
services to be performed by their attorney. It is also important for debtors to know the costs of attorneys' fees through the
life of a plan. To assure that debtors and their attorney understand their rights and responsibilities in the bankruptcy
process, the following rights and responsibilities provided by the United States Bankruptcy Court are hereby agreed to by
the debtors and their attorney. (Nothing in this agreement should be construed to excuse an attorney from any ethical
duties or responsibilities under Federal Rule of Bankruptcy Procedure 9011.)

UNLESS THE COURT ORDERS OTHERWISE,

The debtor must:

1.          Provide accurate financial information.
2.          Provide information in a timely manner.
3.          Cooperate and communicate with the attorney.
4.          Discuss with the attorney the debtor's objectives in filing the case.
5.          Keep the trustee and attorney informed of the debtor's address and telephone number.
6.          Inform the attorney of any wage garnishments or attachments of assets which occur or continue after the filing of
            the case.
7.          Contact the attorney promptly if the debtor loses his/her job or has other financial problems.
8.          Let the attorney know immediately if the debtor is sued before or during the case.
9.          Inform the attorney if any tax refunds the debtor is entitled to are seized or not returned to the debtor by the IRS
            or Franchise Tax Board.
10.         Contact the attorney before buying, refinancing, or selling real property or before entering into any long-term
            loan agreements to find out what approvals are required.



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      Case 16-00188-LT13                         Filed 01/18/16      Entered 01/18/16 16:45:25   Doc 1   Pg. 64 of 75



11.         Pay any filing fees and filing expenses that may be incurred directly to the attorney.
12.         Pay appropriate attorney's fees commensurate with this agreement and the United States Bankruptcy Court
            Guidelines regarding Chapter 13 Attorney Fees. If a court order is entered regarding attorney's fees, fees should
            be paid in accordance with the court's order.

To receive $3,600, which is within the United States Bankruptcy Court's parameters for "initial fees," the attorney
must:

1.          Meet with the debtor to review the debtor's assets, liabilities, income and expenses.
2.          Analyze the debtor's financial situation, and render advice to the debtor in determining whether to file a petition
            in bankruptcy.
3.          Counsel the debtor regarding the advisability of filing either a Chapter 7 or Chapter 13 case, discuss both
            procedures with the debtor, and answer the debtor's questions.
4.          Explain to the debtor how the attorney's fees and trustee's fees are paid.
5.          Explain what payments will be made directly by the debtor and what payments will be made through the debtor's
            chapter 13 plan, with particular attention to mortgage and vehicle loan payments, as well as any other claims with
            accrued interest.
6.          Explain to the debtor how, when, and where to make the chapter 13 plan payments.
7.          Explain to the debtor that the first plan payment must be made to the Trustee within 30 days of the date the plan
            is filed.
8.          Advise the debtor of the requirement to attend the § 341(a) Meeting of Creditors, and instruct the debtor as to the
            date, time and place of the meeting.
9.          Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on vehicles
            securing loans or leases.
10.         Timely prepare, file and serve the debtor's petition, plan, schedules, statement of financial affairs, and any
            necessary amendments thereto, which may be required.
11.         Provide an executed copy of the Rights and Responsibilities of Chapter 13 Debtors and their Attorneys and a
            copy of the Court's Guidelines regarding Chapter 13 Attorney Fees to the debtor.
12.         Appear and represent the debtor at the § 341(a) Meeting of Creditors and any confirmation hearings.
13.         Respond to the objections to plan confirmation, and where necessary, prepare, file and serve an amended plan.
14.         Provide Certification of Eligibility for Discharge pursuant to Local Bankruptcy Rule 4004-1.
15.         Provide such other legal services as are necessary for the administration of the case before the Bankruptcy Court,
            which include, but are not limited to, a continuing obligation to assist the debtor by returning telephone calls,
            answering questions and reviewing and sending correspondence.

Additional services may be required, but are not included in the "initial fees" of $3,600. If necessary and when
appropriate, the attorney, at the debtor's request and only with the debtor's cooperation, must provide the following
services for "additional fees" described below:

1.          Prepare, file and serve necessary modifications to the plan post-confirmation, which may include suspending,
            lowering or increasing plan payments.
2.          Prepare, file and serve necessary motions to buy, sell or refinance real property and authorize use of cash
            collateral or assume executory contracts or unexpired leases.
3.          Object to improper or invalid claims.
4.          Represent the debtor in motions for relief from stay.
5.          Prepare, file and serve necessary motions to avoid liens on real or personal property.
6.          Prepare, file and serve necessary oppositions to motions for dismissal of case.
7.          Provide such other legal services as are necessary for the administration of the case before the Bankruptcy Court,
            which include but are not limited to, presenting appropriate legal pleadings and making appropriate court
            appearances.



                                                                          2

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      Case 16-00188-LT13                         Filed 01/18/16          Entered 01/18/16 16:45:25          Doc 1     Pg. 65 of 75




Should additional services be provided and "additional fees" requested, the attorney must:

1.          Provide proper notice in accordance with Federal Rule of Bankruptcy Procedure 2002.
2.          Advise the debtor of all "additional fees" requested and file a declaration with the court stating that counsel has
            so advised the debtor of the fees requested and the debtor has no objection to the requested fees.

 The "Guidelines Regarding Chapter 13 Attorney Fees" provide for "additional fees" within the United States
 Bankruptcy Court's parameters for "additional fees" in the following amounts and include all court appearances required
 to pursue described actions:

            Modified Plan (Post-Confirmation)                                                                         $650

            for fees and expenses for services rendered post-confirmation for preparing, filing, noticing, and attending
            hearings in regard to a debtor's modified plan under section 1329 of the Bankruptcy Code (including the
            preparation of amended income and expenses statements and providing proof of income). (These fees should be
            less for modification due to clerical error or other administrative issues.)

            Opposition to Motions for Relief from Stay

            $490 (Personal property)                                 for fees and expenses of all services rendered
            $625 (Real property)                                     in opposition to motions to modify or vacate
                                                                     automatic stay.

            Obtaining Orders re: Sale or Refinance of Real Property

            $545 (By stipulation                                     for fees and expenses of all services rendered
                 or noticed hearing)                                 for order authorizing the sale or
                                                                     refinancing of real estate.

            Objections to Claim

            $270 (Uncontested objections                             for fees and expenses of all services rendered
                  without hearing)                                   for preparing, filing, and noticing objections to
            $380 (Contested objections                               a claim. (Fees must not exceed 50% of the amount
                  with a hearing)                                    the trustee would have otherwise paid.)

            Oppositions to Dismissal/Motions to Avoid Lien/Other
            Routine Pleadings                                                                $490

            for fees and expenses of all services rendered for preparing, filing, noticing, and attending hearings in opposition
            to a motion to dismiss the case, for motions to avoid lien and other routine pleadings.

            Motions to Value Real Property, Treat Claim as
            Unsecured and Avoid Junior Lien (Lien Strips)                                    $625

            for fees and expenses of all services rendered for preparing, filing, noticing, and attending hearings when there is
            opposition to a motion to value real property, treat claim as unsecured and avoid junior lien.

            Motions to Impose/Extend Automatic Stay

            $380 (Unopposed)                                         for fees and expenses of all services rendered for preparing, filing,
            $545 (Opposed)                                           noticing and attending hearings in regard to a motion to impose/extend
                                                                     automatic stay.


                                                                                3

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      Case 16-00188-LT13                         Filed 01/18/16      Entered 01/18/16 16:45:25          Doc 1   Pg. 66 of 75




            Novel and Complex Motions and Oppositions to Motions

            These types of motions and oppositions may be billed at hourly rates and counsel must file a fee application in
            compliance with Federal Rules of Bankruptcy Procedure and Local Bankruptcy Rules 2002 and 2016.

Initial fee charged in this case is $ 3,600.00

All post-filing fees will be paid through the plan, unless the court orders otherwise. The attorney may not receive fees
directly from the debtor other than the initial retainer, unless the court orders otherwise. All "additional fees," as
described above, may only be paid upon court authorization after compliance with the "Guidelines Regarding Chapter 13
Attorney Fees." The attorney may seek fees above the additional fees provided a fee application is noticed, filed and
approved by the court.

If the debtor disputes the legal services provided or the fees charged by the attorney, the debtor may file an objection with
the court and set the matter for hearing. The attorney may move to withdraw or the debtor may discharge the attorney at
any time.


 Dated:        January 12, 2016                                               /s/ Leonard G. Anderson
                                                                              Leonard G. Anderson
                                                                              Debtor

 Dated:        January 12, 2016                                               /s/ Ahren A. Tiller
                                                                              Ahren A. Tiller 250608
                                                                              Attorney for Debtor(s)




                                                                          4

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      Case 16-00188-LT13                         Filed 01/18/16             Entered 01/18/16 16:45:25             Doc 1       Pg. 67 of 75


B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                     Southern District of California
 In re       Leonard G. Anderson                                                                              Case No.
                                                                                   Debtor(s)                  Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,600.00
             Prior to the filing of this statement I have received                                        $                  1,800.00
             Balance Due                                                                                  $                  1,800.00

2.     $    310.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]

                  United States Trustee Southern District of California Rights and Responsibilities of Chapter 13 Debtors and Their
                  Attorney incorporated herein by reference.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 12, 2016                                                             /s/ Ahren A. Tiller
     Date                                                                         Ahren A. Tiller 250608
                                                                                  Signature of Attorney
                                                                                  Bankruptcy Law Center
                                                                                  1230 Columbia St., Suite 1100
                                                                                  San Diego, CA 92101
                                                                                  619-894-8831 Fax: 866-444-7026
                                                                                  Name of law firm




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      Case 16-00188-LT13                         Filed 01/18/16      Entered 01/18/16 16:45:25      Doc 1       Pg. 68 of 75


B 201A (07/13)



                                                     UNITED STATES BANKRUPTCY COURT
                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                         NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                  OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

        Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
        Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.




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      Case 16-00188-LT13                         Filed 01/18/16      Entered 01/18/16 16:45:25    Doc 1      Pg. 69 of 75


B 201A                                                                                                                          Page 2


         Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$75 administrative fee: Total Fee $310)
         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


        Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
an attorney.

        Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
        Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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    Case 16-00188-LT13                  Filed 01/18/16           Entered 01/18/16 16:45:25                  Doc 1       Pg. 70 of 75




B 201B [07/08/13]

Name, Address, Telephone No. & I.D. No.
Ahren A. Tiller 250608
1230 Columbia St., Suite 1100
San Diego, CA 92101
619-894-8831
250608

                  UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF CALIFORNIA
        325 West "F" Street, San Diego, California 92101-6991


In Re
Leonard G. Anderson
                                                                                        BANKRUPTCY NO.



                                                                       Debtor.

                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                            Certification of Debtor
          I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
Leonard G. Anderson                                                        X /s/ Leonard G. Anderson                          January 12, 2016
Printed Name(s) of Debtor(s)                                                 Signature of Debtor                              Date

Case No. (if known)                                                        X
                                                                               Signature of Joint Debtor (if any)             Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
B 201B
      Case 16-00188-LT13                         Filed 01/18/16         Entered 01/18/16 16:45:25              Doc 1       Pg. 71 of 75


CSD 1008 [08/21/00]
 Name, Address, Telephone No. & I.D. No.
 Ahren A. Tiller 250608
 1230 Columbia St., Suite 1100
 San Diego, CA 92101
 619-894-8831
 250608

                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
          325 West "F" Street, San Diego, California 92101-6991


 In Re
 Leonard G. Anderson
                                                                                           BANKRUPTCY NO.



                                                                             Debtor.

                                                            VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

      New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS:              20

      Conversion filed on               . See instructions on reverse side.
               Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
               Post-petition creditors added. Scannable matrix required.
               There are no post-petition creditors. No matrix required.

      Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
      Equity Security Holders. See instructions on reverse side.
                         Names and addresses are being ADDED.
                         Names and addresses are being DELETED.
                         Names and addresses are being CORRECTED.

PART II (check one):

      The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

      The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
      the filing of a matrix is not required.
 Date: January 12, 2016                                              /s/ Leonard G. Anderson
                                                                     Leonard G. Anderson
                                                                     Signature of Debtor




                                                          REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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      Case 16-00188-LT13                         Filed 01/18/16       Entered 01/18/16 16:45:25                   Doc 1        Pg. 72 of 75


CSD 1008 (Page 2) [08/21/00]
                                                                      INSTRUCTIONS

1)          Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)          A creditors matrix with Verification is required whenever the following occurs:

            a)          A new petition is filed. Diskette required.

            b)          A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

            c)          An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
                        debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)          The scannable matrix must be originally typed or printed. It may not be a copy.

4)          CONVERSIONS:

            a)          When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
                        mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

            b)          For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
                        mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
                        security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)          AMENDMENTS AND BALANCE OF SCHEDULES:

            a)          Scannable matrix format required.

            b)          The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
                        portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

            c)          Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
                        each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
                        on the same page in alphabetical order.

6)          Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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    Case 16-00188-LT13   Filed 01/18/16   Entered 01/18/16 16:45:25   Doc 1   Pg. 73 of 75



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                          Advanced Homecare
                          27349 Jefferson Ave., Ste. 100
                          Temecula, CA 92590



                          AFSA/College Loan Corp
                          501 Bleeker Street
                          Utica, NY 13501-2401



                          Allan Johnson
                          45-180 Mahalani Pl. #10
                          Kaneohe, HI 96744



                          AT&T Mobility
                          P.O. Box 60017
                          Los Angeles, CA 90060



                          CACH LLC
                          4340 S Monaco St, Fl 2
                          Denver, CO 80237



                          Capital One
                          PO Box 30281
                          Salt Lake City, UT 84130



                          Dept of Ed / Nelnet
                          121 S 13th St.
                          Lincoln, NE 68508



                          Dept of Ed/Nelnet
                          3015 Parker Rd. Ste. 400
                          Aurora, CO 80014



                          ECMC
                          Attn: Wage Withholding Admin.
                          1 Imation Pl
                          Oakdale, MN 55128-3421
Case 16-00188-LT13   Filed 01/18/16   Entered 01/18/16 16:45:25   Doc 1   Pg. 74 of 75




                      FMC-Omaha Service Ctr
                      Po Box 542000
                      Omaha, NE 68154



                      Franchise Tax Board
                      PO Box 942867
                      Sacramento, CA 94267



                      Internal Revenue Service
                      PO Box 7346
                      Philadelphia, PA 19101-7346



                      Kelley J. Sheley-Anderson
                      13646 Fairgate Dr.
                      Poway, CA 92064



                      Pomerado Hospital
                      15615 Pomerado Road
                      Poway, CA 92064



                      Progressive Management Service
                      1521 W. Cameron Ave. Fl 1
                      West Covina, CA 91790



                      Rash Curtis & Associates
                      190 S. Orchard Ave., Ste. A205
                      Vacaville, CA 95688



                      Receivables Performance
                      20816 44th Ave. W
                      Lynnwood, WA 98036



                      Scripps Billing Correspondence
                      10666 North Torrey Pines Rd.
                      La Jolla, CA 92037
Case 16-00188-LT13   Filed 01/18/16   Entered 01/18/16 16:45:25   Doc 1   Pg. 75 of 75




                      Systematic National Collection
                      P.O. Box 6070
                      Folsom, CA 95763



                      WEBBANK/DFS
                      PO Box 81607
                      Austin, TX 78708-1607
